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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                         No.____ ______ Damian
                                            1:22-mj-02188


  UNITED STATES OF AMERICA
                                                                                   ER
  vs.
                                                                         Feb 7, 2022
 GALINA ROZENBERG
      a/k/a “Galina Shevchenko”, and
                                                                                     Miami
 MICHAEL ROZENBERG
 _______________________________________/

                                    CRIMINAL COVER SHEET

 1.     Did this matter originate from a matter pending in the Central Region of the United Sates
        Attorney’s Office prior to August 9, 2013 (Mag. Judge Alicia Valle)?    Yes X No

 2.     Did this matter originate from a matter pending in the Northern Region of the United States
        Attorney’s Office prior to August 8, 2014 (Mag. Judge Shaniek Maynard)? Yes X No

 3.     Did this matter originate from a matter pending in the Central Region of the United States
        Attorney’s Office prior to October 3, 2019 (Mag. Judge Jared Strauss)? Yes X No


                                     Respectfully submitted,

                                     JUAN ANTONIO GONZALEZ
                                     UNITED STATES ATTORNEY


                              By:    /s/ Patrick Queenan
                                     Patrick Queenan
                                     Trial Attorney
                                     FL Special Bar No. A5502715
                                     U.S. Department of Justice
                                     Criminal Division, Fraud Section
                                     Cell: (202) 875-0326
                                     patrick.queenan@usdoj.gov
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AO 9 1 (Rev. 08/09) Criminal Complai nt


                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Southern District of Florida

                  United States of America
                                 V.
   Galina Rozenberg a/k/a Galina Shevchenko, and                               Case No. 1:22-mj-02188 Damian
                Michael Rozenberg


                            Defendant(s)


         CRIMINAL COMPLAINT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of             October 1 2020 to Jul 31 202 1          in the county of            Miami-Dade         in the
     Southern           District of               Florida           , the defendant(s) violated:

             Code Section                                                         Offense Description
 18 U.S.C . § 1349                                   Conspiracy to commit health care fraud

 18 U.S.C. § 1956(h}                                 Conspiracy to commit money laundering




          This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT.




          ~ Continued on the attached sheet.


                                                                                                           s
                                                                                                   Complainant 's signature

                                                                                              Tony Senat. SA - OIG-HHS
                                                                                                    Printed name and Lille




                  0210712022          A .. ~, . .· - ~                           ~o . ,
Attested to by the Applicant in accordance with the requirements ofFed .R.Crim .P. 4.1 by Face Time


Date:
                                                                                                       ;?ge's signature

City and state :                            Miami Florida                         Honorable Melissa Damian U.S. Ma
                                                                                                    Printed name and title
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                    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

        I, Tony Senat, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

        1.      I am a Special Agent with the Department of Health and Human Services, Office of

 Inspector General (HHS-OIG), Miami Regional Office. I have been employed in this capacity for

 over five years. I am presently assigned to investigate a wide variety of health care fraud matters,

 including schemes to defraud Medicare and Medicaid. In this capacity, I am authorized to conduct

 investigations into criminal violations committed against the United States, including, but not limited

 to health care fraud, payment and receipt of illegal health care kickbacks, making false statements in

 connection with a health care benefit program, money laundering, and related conspiracies. I am

 authorized to apply for and execute arrest warrants for offenses enumerated in Titles 18 and 42 of the

 United States Code, and to execute search warrants.           I have received extensive training in

 investigations of fraud related to the United States health care system.

        2.      I am personally involved in this investigation along with other federal agents. The

 statements contained in this affidavit are based upon a review of both public and private records and

 interviews conducted by me and other federal agents of witnesses knowledgeable about the facts

 underlying this investigation.

        3.      This Affidavit is submitted for the limited purpose of establishing probable cause that

 Defendants GALINA ROZENBERG a/k/a GALINA SHEVCHENKO (“G-ROZENBERG”) and

 MICHAEL ROZENBERG (“M-ROZENBERG”):

             a. did knowingly and willfully combine, conspire, confederate, and agree with each other

                and others, in violation of Title 18, United States Code, Section 1349, to:

                    i. commit health care fraud, that is, knowingly and willfully execute a scheme




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                    and artifice to defraud a health care benefit program affecting commerce, as

                    defined in Title 18, United States Code, Section 24(b), that is, Medicare, and

                    to obtain, by means of materially false and fraudulent pretenses,

                    representations, and promises, money and property owned by, and under the

                    custody and control of, said health care benefit program, in connection with

                    the delivery of and payment for health care benefits, items, and services, in

                    violation of Title l8, United States Code, Section 1347; and

                ii. commit wire fraud, that is, knowingly and with the intent to defraud, devise

                    and intend to devise a scheme and artifice to defraud and for obtaining money

                    and property by means of materially false and fraudulent pretenses,

                    representations, and promises, knowing the pretenses, representations, and

                    promises were false and fraudulent when made, and for the purpose of

                    executing the scheme and artifice, did knowingly transmit and cause to be

                    transmitted by means of wire communication in interstate commerce, certain

                    writings, signs, signals, pictures, and sounds, in violation of Title 18, United

                    States Code, Section 1343; and

         b. did willfully, that is, with the intent to further the objects of the conspiracy, knowingly,

            combine, conspire, and agree with each other and others, to violate Title 18, United

            States Code, Section 1956(a)(1)(B)(i), that is, to conduct a financial transaction

            affecting interstate and foreign commerce, which transaction involved the proceeds of

            specified unlawful activity, knowing that the property involved in the financial

            transaction represented the proceeds of some form of unlawful activity, and knowing

            that the transaction was designed in whole or in part to conceal and disguise the nature,




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                location, source, ownership, and control of the proceeds of specified unlawful activity,

                in violation of Title 18, United States Code, Section 1956(h). It is further alleged that

                the specified unlawful activity is conspiracy to commit health care fraud and wire

                fraud, in violation of Title 18, United States Code, Section 1349.

        4.      The facts contained in this Affidavit are based on my personal knowledge and

 observations, as well as facts relayed to me by other law enforcement officers, witnesses, and

 documents. This Affidavit does not contain all the facts of this investigation known to me or to other

 law enforcement personnel. Rather, it sets forth only those facts sufficient to establish probable cause

 in support of a criminal complaint charging G-ROZENBERG and M-ROZENBERG with

 conspiracy to commit health care fraud and wire fraud, in violation of Title 18, United States Code,

 Section 1349, and conspiracy to commit money laundering, in violation of Title 18, United States

 Code, Section 1956(h).

                                        The Medicare Program

        5.      The Medicare Program (“Medicare”) is a federally funded program that provides free

 and below-cost health care benefits to people age 65 years or older, the blind, and the disabled. The

 Centers for Medicare & Medicaid Services (“CMS”) is responsible for the administration of Medicare

        6.      Individuals who receive benefits under Medicare are referred to as Medicare

 “beneficiaries.” Beneficiaries are eligible to receive a variety of services, including hospital services

 (“Part A”), physician services (“Part B”), and prescription drug coverage (“Part D”). Part B covers

 outpatient physician services, such as office visits, minor surgical procedures, and laboratory services,

 such as drug testing and genetic testing, when certain criteria are met.

        7.      “Providers” include independent clinical laboratories, physicians, durable medical

 equipment companies, and other health care providers who provide services or items to beneficiaries.




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 To bill Medicare, a provider must submit a Medicare Enrollment Application Form CMS-855

 (“Provider Enrollment Application”) to Medicare. The Provider Enrollment Application contains

 certification statements that the provider must agree to before enrolling with Medicare. Specifically,

 the certification statement sets forth, in part, that the provider agrees to abide by the Medicare laws,

 regulations, and program instructions, including the Federal anti-kickback statute, and will not

 knowingly present or cause to be presented a false or fraudulent claim for payment by Medicare.

        8.      Also, Medicare will not pay claims procured through the payment of kickbacks.

        9.      A Medicare “provider number” is assigned to a provider upon approval of the Provider

 Enrollment Application. A provider may use that provider number to file claims with, or “bill”

 Medicare to obtain reimbursement for services rendered to beneficiaries. When submitting claims to

 Medicare for reimbursement, providers certify that: (1) the contents of the forms are true, correct, and

 complete; (2) the forms are prepared in compliance with the laws and regulations governing

 Medicare; and (3) the services purportedly provided, as set forth in the claims, are medically

 necessary.

        10.     Medicare, in receiving and adjudicating claims, acts through fiscal intermediaries

 called Medicare administrative contractors (“MACs”), which are statutory agents of CMS for

 Medicare Part B. The MACs are private entities that review claims and make payments to providers

 for services rendered to beneficiaries. The MACs are responsible for processing Medicare claims

 arising within their assigned geographical area, including determining whether the claim is for a

 covered service.

        11.     Additionally, when initially enrolling or updating ownership or management

 information, the Provider Enrollment Application requires that the provider disclose all owners and

 any individuals or businesses with managing control over the provider. This includes any individual




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 or entity with 5 percent or more ownership, managing control, or a partnership interest regardless of

 the percentage of ownership the partner has.

        12.        This disclosure requirement is necessary, in part, because, under Title 42, Code of

 Federal Regulations, Section 424.530, CMS may deny a provider’s enrollment in the Medicare

 program for, among other reasons, if the “provider, supplier, or any owner or managing employee of

 the provider or supplier was, within the preceding 10 years, convicted . . . of a Federal or State felony

 offense that CMS determines is detrimental to the best interests of the Medicare program and its

 beneficiaries.”

                            Medicare Coverage for Cardiovascular Testing

        13.        This investigation concerns claims submitted to Medicare for Part B laboratory

 services, namely, cardiovascular genetic testing (referred to herein as “cardio testing” or “cardio

 tests”). Cardio tests use DNA sequencing to detect mutations in genes that can indicate an increased

 risk of developing serious cardiovascular conditions in the future and can assist in the treatment or

 management of a patient who presently has signs or symptoms of a cardiovascular disease or

 condition. The tests are not a diagnostic tool to identify a cardiac condition in the first instance.

        14.        For this type of testing, the patient provides a cheek or nasal swab containing DNA

 material. Tests can be run on different “panels” of genes. Genetic testing typically involves multiple

 lab procedures that can result in billing Medicare using certain billing codes, each with their own

 reimbursement rate. Medicare reimburses for the cardio test at rates varying from approximately a

 few hundred dollars to over $7,000 for a panel of tests.

        15.        Congress statutorily excludes Medicare from covering diagnostic testing that is “not

 reasonable and necessary for the diagnosis or treatment of illness or injury or to improve the

 functioning of a malformed body member.” 42 U.S.C. § 1395y(a)(1)(A). Except for certain statutory




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 exceptions, Medicare does not cover “examinations performed for a purpose other than treatment or

 diagnosis of a specific illness, symptoms, complaint or injury.” 42 C.F.R. § 411.15(a)(1). Among

 the statutory exceptions Medicare covered are cancer screening tests such as “screening

 mammography, colorectal cancer screening tests, screening pelvic exams, [and] prostate cancer

 screening tests.” Id.

        16.     If diagnostic testing is necessary for the diagnosis or treatment of illness or injury or

 to improve the functioning of a malformed body member, Medicare imposes additional requirements

 before covering the testing. Title 42, Code of Federal Regulations, Section 410.32(a) provides, “All

 diagnostic x-ray tests, diagnostic laboratory tests, and other diagnostic tests must be ordered by the

 physician who is treating the beneficiary, that is, the physician who furnishes a consultation or treats

 a beneficiary for a specific medical problem and who uses the results in the management of the

 beneficiary’s specific medical problem.” “Tests not ordered by the physician who is treating the

 beneficiary are not reasonable and necessary.” Id.

        17.     Because cardio testing does not diagnose cardiovascular diseases or conditions,

 Medicare only covers such tests in limited circumstances, such as when a beneficiary experiences

 sudden cardiac death, is revived, and the sudden cardiac death is resultant of a genetic anomaly. In

 this rare occurrence, the immediate first-degree family members of the surviving patient may be

 candidates for cardio testing to screen for genetic mutations.

        18.     Medicare does not pay for cardio tests merely because a patient had hypertension or a

 history of cardiovascular conditions.

                                Statutory Limits on References Labs

        19.     Federal law limits the amount of testing of any kind that an independent clinical

 laboratory can bill Medicare for when it does not perform the test itself. Labs that lack the capacity




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 or equipment to perform all the tests referred to it by providers may “reference out” some tests to

 another lab. Apart from two circumstances that do not apply here, a lab may not reference out more

 than 30% of its tests and still bill Medicare for those tests. 42 U.S.C. § 1395l(h)(5)(A). This is known

 as the “Shell Lab Rule,” as it prevents laboratories from acting as mere billing shells while performing

 little, or none, of the work themselves.

              THE DEFENDANT AND RELATED INDIVIDUALS AND ENTITIES

        20.     PROGENIX is a limited liability company formed under the laws of Florida with a

 principal place of business at 19580 W Dixie Highway, Suite 306, North Miami Beach, Florida.

 PROGENIX is enrolled in Medicare as an independent clinical laboratory, with a practice location of

 33300 Egypt Lane, Suite F200, Magnolia, Texas. As described in detail below, there is probable

 cause to believe that PROGENIX is a shell laboratory controlled by G-ROZENBERG, M-

 ROZENBERG, and other conspirators. From in or around November 2020, through in or around

 July 2021, PROGENIX billed Medicare approximately $32,597,762.35, of which Medicare paid

 PROGENIX approximately $25,640,384.51.

        21.     G-ROZENBERG (DOB: 2/23/1983) was born in Russia with the maiden name of

 Galina Shevchenko. G-ROZENBERG is a dual citizen of Russia and the United States Upon

 information and belief, G-ROZENBERG changed her name to Galina Rozenberg following her

 marriage to M-ROZENBERG. G-ROZENBERG is a resident of Broward County, Florida, and is

 a listed corporate agent and owner of PROGENIX.

        22.     M-ROZENBERG (DOB: 9/11/1963) was born in Ukraine. M-ROZENBERG is a

 citizen of the United States. M-ROZENBERG is married to G-ROZENBERG, and M-

 ROZENBERG is the beneficial owner of PROGENIX.




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        23.     DMC Group Holding, LLC (“DMC GROUP”) is a limited liability company formed

 under the laws of Florida, with a principal place of business at 1200 North Federal Highway, Suite

 417, Boca Raton, Florida.

        24.     Olympus First Consulting, LLC (“OLYMPUS”) is a limited liability company formed

 under the laws of Florida.

        25.     Gentec Solutions, LLC (“GENTEC”) is a limited liability company formed under the

 laws of Florida with a principal place of business at 1200 North Federal Highway, Boca Raton,

 Florida.

        26.     MDA Consumers, Inc. (“MDA CONSUMERS”) is a corporation formed under the

 laws of Florida with a principal place of business at 19632 Backnine Drive, Boca Raton, Florida.

 According to records on file with the Florida Secretary of State, DANIEL M. CARVER (“D-

 CARVER”) is the sole officer of MDA CONSUMERS. As discussed below, there is probable cause

 to believe MDA CONSUMERS is a shell company the co-conspirators used to launder funds from

 the fraud and kickback scheme primarily to D-CARVER.

        27.     H Town Group, LLC (“H TOWN”) is a limited liability company formed under the

 laws of Florida with a principal place of business at 19580 S Dixie Highway, Suite 306, North Miami

 Beach, Florida. According to records on file with the Florida Secretary of State, G-ROZENBERG

 and M-ROZENBERG are the listed officers. As discussed below, there is probable cause to believe

 H TOWN is a shell company the co-conspirators used to launder funds from the fraud and kickback

 scheme primarily to G-ROZENBERG and M-ROZENBERG.

        28.     Eighteen Group, Inc. (“EIGHTEEN GROUP”) is a corporation formed under the laws

 of Florida with a principal place of business at 1040 Satinleaf Street, Hollywood, Florida. According

 to records on file with the Florida Secretary of State, G-ROZENBERG and M-ROZENBERG are




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 the listed officers. As discussed below, there is probable cause to believe EIGHTEEN GROUP is a

 shell company the co-conspirators used to launder funds from the fraud and kickback scheme

 primarily to G-ROZENBERG and M-ROZENBERG.

        29.     D-CARVER, a resident of Palm Beach County, Florida, is a convicted felon and an

 organizer and manager of this conspiracy. As detailed below, there is probable cause to believe that

 the G-ROZENBERG and others concealed D-CARVER’s ownership or managing control over at

 least three independent clinical laboratories enrolled with Medicare, to include PROGENIX. Due to

 his prior felony convictions, had Medicare been informed that D-CARVER was an owner or had

 managing control over the laboratories, Medicare may have denied enrollment to that provider.

        30.     THOMAS DOUGHERTY (“DOUGHERTY”), a resident of Palm Beach County,

 Florida, is a convicted felon and an organizer and manager of the conspiracy. As detailed below,

 there is probable cause to believe that G-ROZENBERG and others concealed DOUGHERTY’s

 ownership or managing control over at least two independent clinical laboratories enrolled with

 Medicare, to include PROGENIX. Due to his prior felony conviction, had Medicare been informed

 that DOUGHERTY was an owner or had managing control over the laboratories, Medicare may have

 denied enrollment to that provider.

        31.     JOHN PAUL GOSNEY (“GOSNEY”), a resident of Palm Beach County, Florida, is

 a beneficial owner of PROGENIX. As detailed below, there is probable cause to believe that G-

 ROZENBERG and others concealed GOSNEY’s ownership or managing control over at least two

 independent clinical laboratories enrolled with Medicare, to include PROGENIX.

                                       PROBABLE CAUSE

        32.     As outlined in greater detail below, there is probable cause to believe that G-

 ROZENBERG and M-ROZENBERG, along with CARVER, DOUGHERTY, GOSNEY, and




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 others (collectively “the Conspirators”) conspired to commit health care fraud and wire fraud, and

 conspired to commit money laundering. From in or around October 2020, through in or around June

 2021, G-ROZENBERG, M-ROZENBERG, and others caused the submission of over $31 million

 in false and fraudulent claims to Medicare for expensive and medically unnecessary cardio tests, of

 which over $25 million was paid. G-ROZENBERG, M-ROZENBERG, and others then laundered

 funds through shell companies in an effort to conceal the nature, location, source, ownership, or

 control of the proceeds.

         33.      The Conspirators owned and operated a telemarketing call center located at 1200

 North Federal Highway, Boca Raton, which employed between 50–70 people. 1 The operations at the

 call center resulted in the referrals of over 6,000 false and fraudulent cardio tests to laboratories

 through an aggressive telemarketing campaign, in which telemarketers lied to and deceived Medicare

 beneficiaries, of which over 3,600 were referred to PROGENIX. Additionally, these Conspirators

 also owned and controlled laboratories that billed Medicare, including PROGENIX. There is also

 probable cause to believe that in obtaining enrollment with Medicare for PROGENIX, the

 Conspirators initially concealed M-ROZENBERG’s, D-CARVER’s, DOUGHERTY’s, and

 GOSNEY’s ownership and managing control. There is probable cause to believe that PROGENIX

 did not actually render any clinical diagnostic laboratory services, but instead referenced out the

 services to a separate laboratory for each of the over- 3,600 cardio tests PROGENIX billed to

 Medicare. For each cardio test, the Conspirators paid that reference lab a few hundred dollars to run

 the test. The Conspirators then billed Medicare over $7,000 for each test. Because they owned and



 1
  On July 13, 2021, the Honorable Magistrate Judge Shaniek Maynard approved a Search and Seizure Warrant of 1200
 North Federal Highway, Suite 417, Boca Raton, Florida. On July 14, 2021, federal agents executed the warrant and seized
 evidence related to these conspiracies. Additionally, on December 3, 2021, the Honorable Judge William Matthewman
 approved a Search and Seizure Warrant related to nine email accounts controlled by Google, LLC, including G-
 ROZENBERG’s email account (g.rozenberg305@gmail.com) and M-ROZENBERG’s email account
 (m.rozenberg305@gmail.com).


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 controlled laboratories—to include PROGENIX—the Conspirators retained the entire reimbursement

 from Medicare—after they paid out the overhead costs for operating the scheme.

        34.    As a result, there is probable cause to believe that, in merely a six-month period, D-

 CARVER, DOUGHERTY, GOSNEY, G-ROZENBERG, and M-ROZENBERG each received

 millions of dollars in traceable fraud proceeds flowing through PROGENIX.

                             Background and Creation of PROGENIX

        35.    CS-1 is a convicted felon with convictions for drug trafficking as well as assault

 charges. CS-1 is cooperating with the government in the hopes of receiving substantial assistance

 credit to reduce CS-1’s sentence. CS-1 was incarcerated until in or around November 2019, as

 described below, worked with CARVER and others until March 2021, and, then in March 2021, was

 incarcerated again

        36.    CS-1 told agents that CS-1 is a childhood friend of CARVER’s and that, after CS-1’s

 release, CS-1 briefly partnered with D-CARVER in a call center that sold DME prescriptions to other

 marketers and DME companies. That venture, however, ended around January 2020. CS-1 told

 agents that, at that time, CS-1 was hired to work at Broad Street Lifestyles, LLC (“BROAD

 STREET”), under D-CARVER and DOUGHERTY’s management. BROAD STREET operated call

 centers in Broward and Palm Beach Counties, Florida. The call centers conducted telemarketing

 campaigns directed at Medicare beneficiaries. BROAD STREET then sold completed doctors’ orders

 for these beneficiaries—most of which were obtained by paying telemedicine companies—for

 durable medical equipment (“DME”) and genetic testing to DME companies, laboratories, and other

 marketing companies. At some point, GOSNEY joined the partnership with D-CARVER and

 DOUGHERTY.




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        37.     CS-1 further informed agents that, during the operation of BROAD STREET,

 CARVER, DOUGHERTY, and GOSNEY purchased or acquired laboratories, and then used the

 laboratories to bill Medicare for the genetic tests generated from BROAD STREET’s call center

 operation. One of these laboratories was PROGENIX, which CARVER, DOUGHERTY, and

 GOSNEY opened in Texas.

        38.     CS-1 explained to agents that M-ROZENBERG and G-ROZENBERG invested

 approximately $100,000 to become owners of PROGENIX. CS-1 stated that CS-1, CARVER, and

 M-ROZENBERG’s son, Gregory Rozenberg, grew up together. In December 2019, Gregory

 Rozenberg was shot and killed. CS-1 believed that M-ROZENBERG and G-ROZENBERG were

 brought in as partners in PROGENIX as a favor from CARVER and because CARVER had a personal

 relationship with M-ROZENBERG and his deceased son.

        39.     CS-1 also explained to agents that G-ROZENBERG, M-ROZENBERG, CARVER,

 DOUGHERTY, and GOSNEY were each partners in PROGENIX, with each to receive an “equal

 split” among the proceeds.

        40.     According to corporate records, on or about October 7, 2020, PROGENIX was formed

 as a limited liability company, and G-ROZENBERG was the sole listed manager of PROGENIX.

        41.     According to bank records obtained by subpoena, on or about October 23, 2020, G-

 ROZENBERG and M-ROZENBERG opened a bank account ending in x1378 in the name of

 PROGENIX at TD Bank (“TD x1378”). G-ROZENBERG and M-ROZENBERG were the sole

 signatories on the account.

        42.     According to bank records obtained by subpoena, on or about October 26, 2020, FGL

 Transport, Inc., a company owned and controlled by M-ROZENBERG, wired $50,000 to TD x1378,

 and, on December 1, 2020, FGL Transport, Inc. wired another $40,000 to TD x1378.




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        43.     According to Medicare enrollment records, on or about December 8, 2020, G-

 ROZENBERG executed CMS-855 Form falsely attesting that she was the sole owner and manager

 of PROGENIX. In actuality, M-ROZENBERG, CARVER, DOUGHERTY, and GOSNEY were

 also beneficial owners and managers of PROGENIX.

        44.     According to an Investment Agreement executed by CARVER and DOUGHERTY,

 as of November 12, 2020, CARVER and DOUGHERTY were “a combined fifty (50%) members” in

 PROGENIX. Yet, G-ROZENBERG did not disclose their ownership interest to Medicare, nor did

 she disclose M-ROZENBERG or GOSNEY’s ownership or managing control.

        45.     According to bank records obtained by subpoena, G-ROZENBERG opened an

 account in the name of PROGENIX ending in x6648 at SunTrust Bank (“SunTrust x6648”). She was

 the sole signatory listed on the account.

        46.     According to bank records obtained by subpoena, G-ROZENBERG and CARVER

 opened an account in the name of DMC GROUP ending in x6697 at SunTrust Bank (SunTrust

 x6697”).     G-ROZENBERG and DOUGHERTY were the signatories on the account and G-

 ROZENBERG was described as the “Secretary” of DMC GROUP.

        47.     According to Medicare records, on or about April 12, 2021, M-ROZENBERG,

 DOUGHERTY, and DMC GROUP were added as 5% or more owners on Medicare ownership

 documentation.

        48.     According to Medicare data, from on or about January 22, 2021, and continuing

 through on or about July 29, 2021 (approximately six months), PROGENIX billed Medicare

 approximately $31,805,201, of which $25,640,384 was paid.        These claims were related to

 approximately 3,658 beneficiaries from across the country and were almost exclusively for claims




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 related to expensive cardiovascular genetic testing.     Additionally, Medicare data reflects that

 PROGENIX referenced all these expensive genetic tests out to a reference lab located in California.

                               Telemarketing and Doctor Chase Phases

        49.     From in or around December 2020, through, at least, July 2021, the Conspirators

 operated a call center out of 1200 North Federal Highway (the “NORTH FEDERAL CALL

 CENTER”). On or about June 17 and 22, 2021, agents conducted surveillance of the NORTH

 FEDERAL CALL CENTER and identified G-ROZENBERG and M-ROZENBERG’s vehicles

 parked outside.

        50.     Additionally, according to text messages obtained by subpoena, on January 25, 2021,

 Consultant #1, a consultant who worked with PROGENIX, texted both G-ROZENBERG and M-

 ROZENBERG, in pertinent part, “Thanks for your time today. We look forward to continuing to do

 business together.”

        51.     Additionally, on March 10, 2021, G-ROZENBERG exchanged text messages with

 Consultant #1 regarding where Consultant #1 should send “some claim mail [that] arrived from

 novitas [(a Medicare contractor)] at progenix.” G-ROZENBERG instructed Consultant #1 to “scan

 it and mail it to me . . . the physical address is 1200 N Federal Hwy Suite 417 Boca Raton, Florida,”

 which was the NORTH FEDERAL CALL CENTER.

        52.     Additionally, according to search warrant returns and subpoena returns, both G-

 ROZENBERG and M-ROZENBERG received emails from conspirators and others involved in the

 scheme. For example, on November 30, 2020, Consultant #2, a consultant that partnered with

 Consultant #1 who worked with PROGENIX, sent an email directed at “Galina / Michael,” which

 contained an outline of the “next steps” related to “Progenix Lab.” This outline included “reference

 agreement,” “PTAN application,” “shipping supplies,” “Progenix co-branding,” “Staffing/CLIA




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 required,” billing, CMS 116 form submission, genetic counseling, and other aspects of owning and

 operating an independent clinical laboratory. 2

          53.      Further, on January 11, 2021, Consultant #2 sent an email directed at “Danny, Galina,

 Michael, and Tom,” stating, in pertinent part, “Great to meet with y’all at your office last week to

 review the current Progenix lab state-of-the-union and discuss plans for 2021.”

          54.      Also, on January 15, 2021, Consultant #2 emailed G-ROZENBERG, M-

 ROZENBERG, CARVER, and DOUGHERTY stating, in pertinent part, “Thanks again for

 extending our partnership to include the NOLA labs.”

 Former Call Center Employee

          55.      On or about June 17, 2021, agents spoke to CS-2, a former sales representative that

 had worked at the NORTH FEDERAL CALL CENTER for a few weeks shortly before the interview.

 CS-2 produced a copy of a paystub which listed DMC GROUP as his employer. After the interview,

 CS-2 informed agents that the call center documents mentioned GENTEC as the entity that was

 contacting the beneficiaries.

          56.      CS-2 was offered a job in the sales department, paid $600 a week, and also had an

 opportunity to earn cash incentives if he met certain benchmarks. CS-2 described the NORTH

 FEDERAL CALL CENTER as having four departments: approximately 20 employees in the sales

 department; 10 in the insurance verification department; 20 in the transfer department; and CS-2

 believed there were additional employees working in a doctor chase department. 3 According to CS-

 2, the sales department was responsible for calling Medicare beneficiaries and convincing them to


 2
   “PTAN” refers to a Provider Transaction Access Number, which is a Medicare-issued number given to providers by
 Medicare Administrative Contractors upon enrollment with Medicare. Also, “CLIA” refers to the Clinical Laboratory
 Improvement Amendments, which operates under CMS to regulate all laboratory testing performed on humans in the
 U.S.
 3
   “Doctor chasing” is the process of the marketing companies faxing or providing the beneficiary’s primary care physician
 with a proposed prescription. Marketers repeatedly call the doctor’s office in an effort to coax the doctor into signing the
 prescription.


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 agree to take a cardio test; the insurance verification department verified that the individuals the call

 center contacted actually had Medicare; and the transfer department transferred patients from one

 department to another. CS-2 believed the doctor chase department was responsible for faxing

 prescriptions for the cardio tests, also known as requisition forms, to beneficiaries’ doctors, seeking

 the doctors’ signatures authorizing the cardio tests. CS-2 did not know how the call center found the

 doctors, or whether doctor’s signatures were ever forged on requisition forms. However, CS-2

 discovered a fax cover sheet that GENTEC sent to doctors, which is described below.

        57.      CS-2 told agents s/he worked as a sales representative. CS-2 described that there were

 four managers at the NORTH FEDERAL CALL CENTER and that they provided her/him with a

 binder containing information about cardio testing and scripts to make telemarketing calls to

 Medicare beneficiaries in an effort to “sell” them cardio tests. CS-2 provided agents a copy of two

 of the scripts and explained that two managers explicitly trained him/her and other employees to lie

 to Medicare beneficiaries during the call if that is what it took to close the “deal.” Below are examples

 of the lies CS-2 stated were contained in the copy of the calls scripts CS-2 provided to agents:

              i. – Hello, this is ______ with the health and wellness center . . . (CS-2 stated
                 there was no health and wellness center);

              ii. - . . . you and I spoke last year and we did a brief wellness check do you recall
                  that? (CS-2 explained this was a lie and because many of the beneficiaries
                  were elderly, they would likely not remember either way);

           iii. - . . . we do the wellness check annually so we are going to take care of that
                really quick today (CS-2 explained the purpose of the call was not to conduct
                an annual wellness check but to induce the beneficiary to provide Medicare
                and health information and further induce them to consent to a cardio test);

            iv. - . . . I have most of your information from last year (CS-2 explained no one
                spoke to the beneficiary “last year;” instead, the call center had purchased lists
                of Medicare beneficiaries that contained contact information and sometimes a
                Medicare insurance number);




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                v. – This is a preventive test provided as a benefit of your insurance. (As
                   discussed above, unless the beneficiary meets the strict medical necessity
                   requirements listed above, Medicare does not cover this expensive cardio test
                   for screening or “preventive” purposes).

         58.       CS-2 also said her/his managers instructed telemarketers to ask the beneficiary

 numerous questions to lead the beneficiary to answer in the affirmative to justify the ordering of a

 cardio test.

         59.       CS-2 further explained there was a TV monitor on the sales floor broadcasting to the

 entire sales department the leaders for the day, week, and month. The managers used this as a tool to

 keep the sales department employees motivated. Additionally, CS-2 explained that, if a sales

 representative convinced three beneficiaries in a day to consent to a cardio test, that sales

 representative got a chance to spin a “cash wheel” to receive a cash bonus.

         60.       When a Medicare beneficiary did not consent to the test and then asked to be placed

 on a do-not-call list, CS-2 explained that her/his managers instructed CS-2 not to place the Medicare

 beneficiary on the do-not-call list because the call center wanted to be able to call that beneficiary

 during a later telemarketing campaign.

         61.       CS-2 also explained that CS-2 was instructed to hang up on anyone that was not a

 Medicare recipient as her/his managers informed CS-2 they only wanted to sell to Medicare

 beneficiaries.

         62.       CS-2 explained that each sales representative utilized a computer with dual monitors

 and used applications or software on the computer to conduct sales and gather the Medicare

 beneficiary information.      Typically, upon making the calls, CS-2 only had name and contact

 information for the beneficiary, although in a few instances the patient list included the Medicare

 insurance number.        CS-2 explained that, when s/he had the Medicare number, it made the

 telemarketing call seem “more legit.” When CS-2 did not have the Medicare number, CS-2 explained



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 that s/he was instructed by her/his managers to lie to beneficiaries to convince the beneficiaries to

 provide their Medicare numbers, which was necessary for the labs to bill Medicare. CS-2 explained

 that s/he was instructed to tell beneficiaries that s/he was already in possession of their Medicare

 number but it was encrypted, and, to move forward with ordering the genetic test, the beneficiary

 needed to “confirm” the number.

        63.     CS-2 identified D-CARVER and GOSNEY as two of the “top three guys.” CS-2 was

 unable to identify the third “top guy.” CS-2 explained that D-CARVER, GOSNEY, and the third

 “top guy” maintained their own offices within the NORTH FEDERAL CALL CENTER, each with

 their own computer and dual monitor set up. CS-2 explained that, if there was an issue with a

 beneficiary during a call, one of the “top three guys” would take over the call as they were “smooth

 talkers.” CS-2 identified GOSNEY as the daily floor manager, who was ranked highest on the

 management team at the NORTH FEDERAL CALL CENTER. GOSNEY ran the call center and

 would provide daily morning briefings to the entire sales department.

        64.     CS-2 also provided photographs to agents, which s/he took while working at the

 NORTH FEDERAL CALL CENTER. These photographs included the two call scripts described

 above, text message threads between CS-2 and managers at the call center, screenshots of the software

 or applications used by the sales representatives, the money wheel, the computer set up for sales

 representatives, CS-2’s paystub, the fax cover sheet from GENTEC (discussed below), and a

 screenshot of a requisition form CS-2 found on CS-2’s computer at the NORTH FEDERAL CALL

 CENTER.

        65.     CS-2 was not a licensed medical professional of any kind.




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 Doctor Chase Faxes and Complaints to Medicare

        66.     As discussed by CS-2, the call center had a doctor chase operation after a “deal” or

 “sale” was made.

 Fax Example #1 (from call center computer)

        67.     CS-2 informed agents that, while working at the NORTH FEDERAL CALL

 CENTER, CS-2 came across a copy of the standard fax cover sheet on CS-2’s computer. The fax

 was purportedly from GENTEC and was directed to a doctor as part of the doctor chase portion of

 the scheme. Independently, agents obtained a copy of actual fax cover sheets GENTEC sent to

 medical providers, which contained the same language. Below is a photograph of the fax cover sheet

 CS-2 provided. The fax falsely and deceptively refers to the beneficiary as “our mutual patient.”

 Fax Example #2 (from medical provider)

        68.     On December 8, 2020, PROGENIX submitted claims to Medicare related to a cardio

 test purportedly performed for J.C. Medicare paid PROGENIX $7,114.05 for the claims. Dr. S.M.

 was the referring provider.

        69.     Agents spoke with Dr. S.M. and other hospital personnel, who stated that J.C.’s patient

 file contained a fax request from GENTEC requesting that Dr. S.M. sign a requisition form for a

 cardio test. Dr. S.M. confirmed that s/he signed the requisition form.

        70.     Dr. S.M. explained that s/he had been J.C.’s primary care physician since 2014 and,

 due to J.C.’s age and other conditions, s/he never suggested that J.C. take a cardio test. However, due

 to the volume of requests for his/her signature on forms s/he received on a daily basis, s/he was unable

 to “validate each one of them.” Dr. S.M. explained that a majority of the forms s/he received seem

 legitimate, and s/he had signed “hundreds of patient requisition forms.” Dr. S.M. did not speak to




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 any other doctors regarding J.C.’s cardio test and speculated that s/he signed J.C.’s requisition form

 to appease his/her patient.

         71.      Agents also interviewed J.C. and his/her spouse. Both stated that J.C. never completed

 a cardio test, never spoke to anyone about a cardio test, and never heard of GENTEC.

 Complaint to Medicare Example

         72.      Additionally, HHS-OIG received a number of complaints from Medicare beneficiaries

 or doctors involving GENTEC.

         73.      On May 26, 2021, Dr. S.P. filed the following complaint:

         I am the primary care physician [for P.E.]. On May 25, 2021 I was faxed a form to fill
         out so that [P.E.] could get a “Genetic Cardiovascular Risk Assessment test”. This
         came from Genetic Solutions, phone (833)-217-9561.4 I had no idea why she would
         want this as she is 78 years old and has not had any significant cardiovascular
         problems. The ICD-10 codes on the form were prepopulated by the company I49.8 –
         Other specific cardiac arrhythmias, R06.02 Shortness of breath, Z72.3 – lack of
         physical exercise, and I42.9 – Cardiomyopathy. None of these codes applied to [P.E.].
         I called [P.E.] and asked her if someone had called her about this. She said someone
         who was “associated with Medicare” called and wanted to ask her questions about
         “her family history.” She said they kept her on the phone for about 30 minutes. She
         had no idea that they wanted to do genetic testing which apparently they were going
         to bill to Medicare. I feel this is fraudulent activity as what was to be ordered was a
         battery of about 250 genetic tests in the Comprehensive Cardiovascular NGS panel.
         This was never solicited from our office. [P.E.] also stated she did not request it and
         did not know this was being requested.


                         Use of PROGENIX as a Shell Lab to Bill over $31 Million

         74.      In addition to the false CMS-855 that G-ROZENBERG executed and caused to be

 submitted to Medicare, G-ROZENBERG also represented to Medicare that Dr. Lee Ann Grossberg

 was the Medical Director for PROGENIX. On or about August 2, 2021, agents interviewed Dr.

 Grossberg, who explained that she was hired to work at PROGENIX, which she described as a startup


 4
   This is the same fax number on the GENTEC fax cover sheet provided by CS-2 as well as the other fax cover sheets
 recovered by agents through witness interviews and hotline complaints filed with HHS-OIG. As a result, it appears the
 complainant incorrectly referred to the fax author as “Genetic Solutions,” as opposed to GENTEC.


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 lab. As medical director, Dr. Grossberg was theoretically responsible for overseeing testing results;

 however, she never oversaw any results at PROGENIX because “everything was being referenced

 out to” a reference laboratory. In fact, Dr. Grossberg explained that she had never been inside of

 PROGENIX, that PROGENIX did not have any instruments, and that no other physicians were

 employed by PROGENIX.

        75.     Dr. Grossberg explained that CARVER and G-ROZENBERG owned PROGENIX.

 Dr. Grossberg explained that she received “worrisome phone calls” and complaints from angry

 doctors inquiring about the cardiovascular genetic tests they were receiving for their patients. The

 doctors would call Dr. Grossberg asking her why she ordered the genetic tests for their patients, telling

 her they never requested the tests, and asking how PROGENIX received the doctor’s information and

 the patient’s information. Dr. Grossberg forwarded these complaints to CARVER as well as to

 Consultant #1, a consultant for PROGENIX.

        76.     According to emails obtained by subpoena, on January 29, 2021, Consultant #1

 forwarded a complaint to G-ROZENBERG from a representative of a cardiologist group located in

 Arizona stating they are “getting requested to sign hereditary cardio orders for their patients by

 Accugene. She was very upset because their patients are saying that they did not request these tests,

 and their doctors did not order them.”

        77.     Accugene, LLC is another independent clinical laboratory that the Conspirators

 enrolled with Medicare, which listed G-ROZENBERG and Josephine Carver, CARVER’s mother,

 as the only owners and managers of the laboratory. Indeed, G-ROZENBERG executed and

 submitted to Medicare a false CMS-855 Form tied to Accugene, LLC.

        78.     Consultant #2, spoke to law enforcement under the terms of a proffer agreement.

 Consultant #2 owned and operated a consulting company involved in the acquisition and creation of




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 independent clinical laboratories, to include PROGENIX. Consultant #2 explained that on or about

 October 28 and 29, 2020, Consultant #2 met with CARVER, DOUGHERTY, G-ROZENBERG, and

 M-ROZENBERG in Houston, Texas, to select sites for PROGENIX. Consultant #2 explained that

 the site they ultimately selected was “just a room.” Indeed, Consultant #2 confirmed that PROGENIX

 did not conduct tests, and, instead, referenced the samples to another lab for approximately $400 per

 test.

         79.    The undersigned affiant travelled to Magnolia, Texas and took photographs of

 PROGENIX’s practice location, which contained a microwave, a table, a chair, and no laboratory

 equipment.

         80.    Consultant #2 further explained that G-ROZENBERG regularly communicated with

 him and other members of Consultant #2’s consulting team, and that G-ROZENBERG was the “day

 to day” person for PROGENIX.

         81.    Consultant #2 also stated that he advised CARVER and G-ROZENBERG that

 PROGENIX was billing panels with 129 genes or more and that they should run only 117-gene panels

 as the genes on the higher panel were completely unrelated to cardiovascular. Consultant #2 stated

 that s/he later called the reference lab that PROGENIX referred all its samples to and changed the

 processing from 129 genes to 117 genes. This change only lasted three weeks because CARVER and

 G-ROZENBERG found out and were angry about the $1,200 difference between the two panels,

 which meant that CARVER’s labs lost out on $1,200 for each cardiovascular sample it was

 referencing.

         82.    According to emails obtained by subpoena, on February 4, 2021, G-ROZENBERG,

 CARVER, and others received an email from Consultant #1’s husband, also a consultant for

 PROGENIX, stating, “I’ve been concerned over the constant swapping of panels based on billing.




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 There are no off the shelf options that cover all options and the 117 and 129 are not just 12 different

 genes, there are about 40 genes missing between the two.”

        83.     CS-3 was hired by G-ROZENBERG and another individual to be the general

 supervisor of PROGENIX. At an interview with agents, CS-3 explained that G-ROZENBERG

 oversaw the operations at PROGENIX and that G-ROZENBERG purchased patient call lists for

 PROGENIX and the lab used the lists to contact Medicare beneficiaries. CS-3 also stated that

 PROGENIX never ran any laboratory tests, and, instead, all samples for PROGENIX were referenced

 to a separate reference laboratory.

                                       Money Laundering Phase

        84.     As mentioned above, according to Medicare, banking and financial records obtained

 via subpoena, PROGENIX received over $25 million from Medicare tied to the expensive and

 medically unnecessary claims for cardiovascular genetic testing. G-ROZENBERG and M-

 ROZENBERG then laundered fraud proceeds from accounts in the name of PROGENIX to shell

 companies, such as H TOWN and EIGHTEEN GROUP, which G-ROZENBERG and M-

 ROZENBERG owned and controlled.

        85.     To conceal CARVER’s, DOUGHERTY’s, and GOSNEY’s ownership of

 PROGENIX, G-ROZENBERG and M-ROZENBERG laundered funds from accounts in the name

 of PROGENIX (TD x1378 and SunTrust x6648) to accounts in the name of OLYMPUS, DMC

 GROUP, and MDA CONSUMERS, including SunTrust x6697.                         From there, CARVER,

 DOUGHERTY, and GOSNEY conducted further transfers to companies they owned and controlled.

        86.     As to DMC GROUP—where G-ROZENBERG and DOUGHERTY were the sole

 signatories on the account: over $2.1 million was transferred to MC Mission, Inc., a shell company

 owned and controlled by DOUGHERTY; over $1.4 million was transferred to MDA CONSUMERS;




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 and over $1.4 million was transferred to Metropolis Unlimited, LLC, a shell company owned and

 controlled by GOSNEY.

            87.   Below is a summary of the flow of funds from Medicare through PROGENIX and

 onto the shell companies and other entities owned and controlled by G-ROZENBERG, M-

 ROZENBERG, CARVER, DOUGHERTY, and GOSNEY.

     From                                 To                                      Amount



     Medicare                             PROGENIX                                $25,640,384
     PROGENIX                             OLYMPUS/DMC GROUP                       $8,946,530
     PROGENIX                             H TOWN                                  $4,374,100
     H TOWN                               EIGHTEEN GROUP                          $2,380,453
     H TOWN                               MICHAEL ROZENBERG                       $1,164,500


            88.   In sum, G-ROZENBERG and M-ROZENBERG transferred at least $4,374,100 in

 fraud proceeds from accounts in the name of PROGENIX to accounts owned or controlled by G-

 ROZENBERG and/or M-ROZENBERG. 5

                                                 Evidence of Flight

            89.   Last week, the Department of Justice, Criminal Division, Fraud Section (“Fraud

 Section”) received separate phone calls from lawyers representing G-ROZENBERG and M-

 ROZENBERG. During the contact (which included a call with M-ROZENBERG’s lawyer on

 February 5, 2022), the Fraud Section informed each attorney that their respective clients remained

 targets of the criminal investigation and that it was likely that the Fraud Section would recommend

 charging each—G-ROZENBERG and M-ROZENBERG—with health care fraud and money

 laundering offenses.


 5
   On July 13, 2021, the Honorable Magistrate Judge Jacqueline Becerra issued a seizure warrant to seize funds in certain
 accounts, to include an account at JP Morgan Chase in the name of EIGHTEEN GROUP, which M-ROZENBERG was
 a signatory. On July 14, 2021, the government seized over $2.1 million from the EIGHTEEN GROUP account.


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        90.     On or about February 6, 2022, agents were notified by the National Targeting Center

 that M-ROZENBERG and G-ROZENBERG booked a flight from Miami International Airport to

 Moscow, Russia, scheduled to depart on or about 1:55 p.m. on Sunday, February 7, 2022. According

 to the manifest, G-ROZENBERG booked her flight under her maiden name, Galina Shevchenko and

 is set to travel under her Russian Passport number.




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                                            CONCLUSION

          91.    Based on the foregoing , I respectfully submit that there is probable cause to believe

   that G-ROZENBERG and M-ROZENBERG have each conspired to commit health care fraud and

   wire fraud, in violation of Title 18, United States Code, Section 1349, and conspired to launder

   monetary instruments, in violation of Title 18, United States Code, Section 1956(h).

          FURTHER YOUR AFFIANT SA YETH NAUGHT.


                                                                   /s
                                                          Tony Senat
                                                          Special Agent
                                                          Dep' t of Health and Human Services-OIG


   Attested to in accordance with the requirements
   of Fed. R. Crim. P. 4.1 by FaceTime on
   February 1-, 2022. 't.'3So.rr\



  ~THEH0NRABLE MELJSSA
                    - DAMIAN
   UNITED STATES MAGISTRATE JUDGE




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